                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 1:18-cv-01475-KMT

CARLOS INNISS, on behalf of himself and all others similarly situated,

          Plaintiff,

v.

ROCKY MOUNTAIN INVENTORY, INC., a Colorado corporation,
BRIAN HUNGERFORD, an individual,
JANINE HUNGERFORD, an individual, and
LINDA HUNGERFORD, an individual,

          Defendants.


                NOTICE OF FILING OF CONSENT TO BECOME PARTY PLAINTIFF


          PLEASE TAKE NOTICE, that pursuant to 29 U.S.C. § 216, Plaintiff hereby files the

attached Consent Form for the following individual:

     1.       Jennifer Schlagel

              Respectfully submitted this 16th day of May, 2019.

                                                     /s/ Paul F. Lewis
                                                     Paul F. Lewis
                                                     Michael D. Kuhn
                                                     Andrew E. Swan
                                                     LEWIS | KUHN | SWAN PC
                                                     620 North Tejon Street, Suite 101
                                                     Colorado Springs, CO 80903
                                                     Telephone: (719) 694-3000
                                                     Facsimile: (866) 515-8628
                                                     plewis@lks.law
                                                     mkuhn@lks.law
                                                     aswan@lks.law

                                                     Attorneys for Plaintiff
                                      CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of May, 2019, I filed the foregoing Notice of

Filing of Consent to Become Party Plaintiff using the Court’s e-filing system, which will

send notification to all counsel of record.

                                                      /s/ Anne S. Pearcy
                                                      Anne S. Pearcy
